
Note. — It seem? as if each Defendant, in case a verdict went against him, should pay the whole costs of the surveyor. The line must be platted for each, in the survey returned for his cause : also, each Defendant's lot mu,t be viewed and platted to shew its situation relative to the long line. With respect to the jurors, their labour is over when the lines are once run and viewed When they arc viewing the long line, that is a service for the Defendants jointly ; but when they are viewing the lots, that is for each Defendant singly ; and if they take up several days in doing this, the lots first viewed and passed by, should not contribute to the expenses of the lots not yet viewed —-as to that part of the service therefore, it seems, as if each Defendant ought to pay. We must wait however for a decision on thif point to be ascertained of the law.
Note. — Vida S. C. post 484.
